Case 1:20-cv-00467-JMS-DML Document 1 Filed 02/11/20 Page 1 of 4 PageID #: 1




                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

MARK MCCLESKEY, TRUSTEE AND INDIANA           )
STATE COUNCIL OF PLASTERERS AND CEMENT        )
MASONS HEALTH AND WELFARE AND PENSION         )
FUNDS,                                        )                    No. 1:20-cv-467-
                                              )
                   Plaintiffs,                )
                                              )
               v.                             )
                                              )
KNAPP CONCRETE CONTRACTORS, INC., an Illinois )
corporation,                                  )
                                              )
                   Defendant.                 )


                                         COMPLAINT

       Plaintiffs, by their attorneys, DONALD D. SCHWARTZ and ARNOLD AND KADJAN,

LLP, complain against Defendant, KNAPP CONCRETE CONTRACTORS, INC., as follows:

                                JURISDICTION AND VENUE

       1.     (a)     Jurisdiction of this cause is based upon Section 502 of the Employee

Retirement Income Security Act of 1974, 29 U.S.C. Section 1132 ("ERISA") and 29 U.S.C. 1145

as amended.

              (b)     Venue is founded pursuant to 29 U.S.C. Section 1132(e) (2) in this district,

where the Funds as described in Paragraph 2, are administered and 29 U.S.C. Section 185(c).

                                           PARTIES

       2.     (a)     The Plaintiffs in this count are MARK MCCLESKEY, TRUSTEE AND

INDIANA STATE COUNCIL OF PLASTERERS AND CEMENT MASONS HEALTH AND

WELFARE AND PENSION FUNDS, (“the Funds”), and have standing to sue pursuant to 29

U.S.C. Section 1132(d)(1).
Case 1:20-cv-00467-JMS-DML Document 1 Filed 02/11/20 Page 2 of 4 PageID #: 2




              (b)     The Funds have been established pursuant to collective bargaining

agreements previously entered into between the Cement Masons Union and its affiliated locals

(the "Union") and certain employer associations whose employees are covered by the collective

bargaining agreement with the Union.

              (c)     The Funds are maintained and administered in accordance with and

pursuant to the provisions of the National Labor Relations Act, as amended, and other applicable

state and federal laws and also pursuant to the terms and provisions of the agreements and

Declarations of Trust which establish the Funds.

       3.     (a)     KNAPP CONCRETE CONTRACTORS, INC. (hereafter "KNAPP"),

employs employees represented by the Union and is bound to make contributions for hours and

weeks worked by all employees and upon subcontractors who perform work which would

otherwise be performed by employees.

              (b)     KNAPP has its principal place of business in Dixon, Illinois.

              (c)     KNAPP is an employer engaged in an industry affecting commerce.

       4.     Since on or before March 20, 2016, KNAPP has been bound to make

contributions to the Plaintiffs’ Funds by submitting monthly report forms to the Funds on behalf

of bargaining unit employees covered by the Local 692 Collective Bargaining Agreement.

(Exhibit A)

       5.     By virtue of certain provisions contained in the collective bargaining agreements,

KNAPP is bound by the Trust Agreement establishing the Funds.

       6.     Under the terms of the collective bargaining agreements and Trust Agreements to

which it is bound, KNAPP is required to make contributions to the Funds on behalf of its

employees and, when given reasonable notice by Plaintiffs or their representatives, to submit all




                                               2
Case 1:20-cv-00467-JMS-DML Document 1 Filed 02/11/20 Page 3 of 4 PageID #: 3




necessary books and records to Plaintiffs’ accountant for the purpose of determining whether or

not it is in compliance with its obligation to contribute to the Funds.

       8.      Plaintiffs are advised and believe that from March 20, 2016 through the present,

KNAPP has failed to make some of the contributions from time to time required to be paid by it

to the Funds pursuant to the terms of the Trust Agreements by which it is bound, all in violation

of its contractual obligations and its obligations under applicable state and federal statutes.

       WHEREFORE, Plaintiffs pray for relief as follows:

       A.      KNAPP be ordered to submit to an audit for March 20, 2016 through the present.

       B.      Judgment be entered on any amounts found to be due on the audit.

       C.      Plaintiffs be awarded their costs herein, including reasonable attorneys’ fees and

costs incurred in the prosecution of this action, together with liquidated damages in the amount

of 20%, all as provided in the applicable agreements and ERISA Section 502(g)(2).

       D.      KNAPP be enjoined from violating the terms of the collective bargaining

agreements and Trust Agreements by failing to make timely payments to the Funds and be

ordered to resume making those payments.

       E.      This Court grant Plaintiffs such other and further relief as it may deem

appropriate under the circumstances.

                                       Respectfully submitted,

                                       MARK MCCLESKEY, TRUSTEE AND INDIANA
                                       STATE COUNCIL OF PLASTERERS AND CEMENT
                                       MASONS HEALTH AND WELFARE AND PENSION
                                       FUNDS

                                       By:     s/ Donald D. Schwartz
                                               One of their Attorneys




                                                  3
Case 1:20-cv-00467-JMS-DML Document 1 Filed 02/11/20 Page 4 of 4 PageID #: 4




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                                     4
